          Case 1:22-bk-10545-VK                  Doc 159 Filed 10/10/22 Entered 10/10/22 13:07:18                                       Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 RON BENDER (State Bar No. 143364)
 TODD M. ARNOLD (State Bar No. 221868)
 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
 2818 La Cienega Avenue
 Los Angeles, California 90034
 Telephone: (310) 229-1234 / Facsimile: (310) 229-1244
 Email: rb@lnbyg.com; tma@lnbyg.com




      Individual appearing without attorney
      Attorney for: Debtor and Debtor in Possession

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                              DIVISION

 In re:                                                                       CASE NO.: 1:22-bk-10545-VK
                                                                              CHAPTER: 11
 GUARACHI WINE PARTNERS INC.,
 a California corporation,


                                                                                   NOTICE OF SALE OF ESTATE PROPERTY

                                                              Debtor(s).


 Sale Date: 10/13/2022                                                        Time: 2:00 pm

 Location: Courtroom 301, 21041 Burbank Boulevard, Woodland Hills, CA 91367 VIA ZOOMGOV

Type of Sale:           Public         Private               Last date to file objections: 10/12/2023

Description of property to be sold:
Wine inventory and brands and related IP [See Dkts. 125 & 137]




Terms and conditions of sale:
 Free and clear of liens, claims, encumbrances; pay in full and close by October 17, 2022[See Dkts. 125 & 137]




                     $ 2,500,000.00
Proposed sale price: _________________________________
                            $430,080

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Overbid procedure (if any):
Sale concluded, but see Dkts. 125 & 137.


If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:
Date: October 13, 2022
Time: 2:00 p.m.
Place: Courtroom 301
21041 Burbank Boulevard
Woodland Hills, CA 91367
VIA ZOOMGOV




Contact person for potential bidders (include name, address, telephone, fax and/or email address):
 Debtor's Attorneys: Levene, Neale, Bender, Yoo & Golubchik, L.L.P., Todd M. Arnold, 2818 La Cienega Avenue,
 Los Angeles, California 90034
 Telephone: (310) 229-1234, Facsimile: (310) 229-1244, Email: tma@lnbyg.com




Date: 10/10/2022




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2818
La Cienega Avenue, Los Angeles, California 90034

A true and correct copy of the foregoing document entitled (specify): NOTICE OF SALE OF ESTATE PROPERTY will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 10, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Todd M Arnold tma@lnbyg.com
       William C Beall will@beallandburkhardt.com, carissa@beallandburkhardt.com
       Ron Bender rb@lnbyg.com
       Katherine Bunker kate.bunker@usdoj.gov
       Moriah Douglas Flahaut (TR) douglas.flahaut@arentfox.com, C194@ecfcbis.com
       Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Lance N Jurich ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
       Shane J Moses smoses@foley.com, llanglois@foley.com;lanii-langlois-
        4514@ecf.pacerpro.com;swells@foley.com
       Eric A. Nyberg e.nyberg@kornfieldlaw.com
       James V. Sansone jsansone@cmprlaw.com, dmarshall@cmprlaw.com
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) October 10, 2022, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

None.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 10, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT MAIL
Honorable Victoria S. Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 10, 2022               Todd M. Arnold                                                  /s/ Todd M. Arnold
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
